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                                                of 1
                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000
Molly C. Dwyer
Clerk of Court



                                     TIME SCHEDULE ORDER


        Docket Number:           24-5856
        Originating Case Number: 3:24-cv-00002-AGS-AHG
        Case Title:              Emert v. Schuck, et al.



        Tuesday, November 5, 2024
        Robert Emert                                          Appeal Opening Brief (No
                                                              Transcript Due)


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
       the transcript deadlines do not apply.
       Failure of the appellant to comply with the time schedule order may result in
       automatic dismissal of the appeal. See 9th Cir. R. 42-1.
